  Case 3:21-cv-01590-N Document 18 Filed 11/24/21              Page 1 of 6 PageID 11477


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Counsel for Highland Capital Management, L.P.



                            IN THE UNITED STATES DISTRICT COURT
                            FOR THE NORTHERN DISTRICT OF TEXAS
                                      DALLAS DIVISION

                                                      §
 JAMES DONDERO.
                                                      §
                                                      §
                                  Appellant,
                                                      §
                                                      § Case No. 3:21-cv-01590-N
 vs.
                                                      §
                                                      §
 HIGHLAND CAPITAL MANAGEMENT, L.P.,
                                                      §
                                                      §
                                  Appellee.
                                                      §
                                                      §
                                                      §

               HIGHLAND CAPITAL MANAGEMENT, L.P.’S
   UNOPPOSED MOTION FOR EXTENSION OF TIME TO FILE RESPONSE BRIEF

                 Highland Capital Management, L.P., the appellee (“Highland” or “Appellee”) in

the above-captioned appeal (the “Appeal”), hereby submits this Unopposed Motion for Extension



DOCS_NY:44535.1 36027/003
    Case 3:21-cv-01590-N Document 18 Filed 11/24/21                    Page 2 of 6 PageID 11478



of Time to File Response Brief (the “Motion”). In support of its Motion, Highland respectfully

states as follows:

                                        I.       BACKGROUND

                  1.        On June 15, 2021, appellant James Dondero (“Appellant”) filed his Notice

of Appeal of the Bankruptcy Court’s Memorandum Opinion and Order Granting in Part Plaintiff’s

Motion to Hold James Dondero in Civil Contempt for Alleged Violation of TRO [Adv. Proc.

Docket No. 195].1

                  2.        On June 29, 2021, Appellant filed Appellant’s Designation of Items to be

Included in the Record on Appeal and Statement of Issues to be Presented [Adv. Proc. Docket No.

203].

                  3.        On August 6, 2021, the record on Appeal was transmitted to this Court.

[Docket No. 7].2

                  4.        On August 12, 2021, Appellant filed his Unopposed Motion to Supplement

the Record on Appeal to address certain deficiencies in the record. [Docket No. 10].

                  5.        On August 24, 2021, the Court entered the Order Granting Appellants’

Unopposed Motion to Supplement Record on Appeal [Docket No. 12] (the “Order”). The Order

authorized Appellant to provide to the clerk for the United States Bankruptcy Court for the

Northern District of Texas, Dallas Division (the “Bankruptcy Court”) certain supplemental items

to be included in the record on Appeal. The Order further provided that Appellants’ opening brief

(the “Opening Brief”) would be due within 30 days after the supplemental record was transmitted




1
    Refers to the docket maintained in the adversary proceeding captioned 21-3190.
2
    Refers to the docket maintained in the above-captioned appeal.

                                                      2
DOCS_NY:44535.1 36027/003
  Case 3:21-cv-01590-N Document 18 Filed 11/24/21                     Page 3 of 6 PageID 11479



to the Court in accordance with Rule 8018 of the Federal Rules of Bankruptcy Procedure (the

“Bankruptcy Rules”).

                 6.         On September 7, 2021, the supplemental record on Appeal was transmitted

to the Court. [Docket No. 13].

                 7.         On September 16, 2021, Appellant filed his Unopposed Motion for

Extension of Time to File Opening Brief [Docket No. 14] (“Appellants’ Motion to Extend Time”).

                 8.         On September 17, 2021, the Court issued its Order granting Appellants’

Motion to Extend Time. [Docket No. 15].

                 9.         On November 8, 2021, Appellant filed his Opening Brief. [Docket No. 16].

                 10.        Pursuant to Bankruptcy Rule 8018, Highland’s response brief (the

“Response”) is currently due on December 8, 2021. See Fed. R. Bank. P. 8018(a)(2).

                                    II.      RELIEF REQUESTED

                 11.        Highland respectfully requests a 30-day extension of time in which to file

its Response.

                 12.        Good cause exists for the requested extension. Counsel for Highland has a

number of conflicting deadlines throughout the next several weeks, which would make it difficult

for counsel to devote the requisite time to drafting the Response. A 30-day extension will provide

counsel with sufficient time to address the Response.

                 13.        Accordingly, for the foregoing reasons, Highland respectfully requests that

the Court extend the deadline for Highland to file its Response from December 8, 2021 to January

7, 2022.




                                                     3
DOCS_NY:44535.1 36027/003
  Case 3:21-cv-01590-N Document 18 Filed 11/24/21                Page 4 of 6 PageID 11480



                                    III.    CONCLUSION

          WHEREFORE, Highland respectfully requests that the Court enter an order (i) granting

the Motion, (ii) extending the deadline for Highland to file its Response from December 8, 2021

to January 7, 2022, and (iii) granting Highland such other and further relief as may be just and

proper.




                                                 4
DOCS_NY:44535.1 36027/003
  Case 3:21-cv-01590-N Document 18 Filed 11/24/21     Page 5 of 6 PageID 11481


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                                      5
DOCS_NY:44535.1 36027/003
  Case 3:21-cv-01590-N Document 18 Filed 11/24/21     Page 6 of 6 PageID 11482



                            CERTIFICATE OF CONFERENCE

     The undersigned hereby certifies that, on November 12, 2021, counsel for
Highland corresponded with counsel for Appellant regarding the relief requested in
the foregoing Motion. Counsel for Appellant advised counsel for Highland that
Appellant is UNOPPOSED to the relief requested in the Motion.


                                         /s/ Zachery Z. Annable
                                        Zachery Z. Annable




                                        6
DOCS_NY:44535.1 36027/003
